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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SCOTT JOHNSON,                                       Case No.16-cv-02669-SK
                                                       Plaintiff,
                                   8
                                                                                             CONDITIONAL DISMISSAL
                                                v.
                                   9
                                                                                             Re: Dkt. No. 51
                                  10    PLEASANT HILL CRESCENT DRIVE
                                        INVESTORS LLC, et al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The Court is advised that the parties have reached a tentative settlement of this case and

                                  14   expect to file a dismissal with prejudice within sixty days. Therefore, IT IS HEREBY

                                  15   ORDERED that this cause of action is dismissed without prejudice; provided, however that if

                                  16   any party hereto shall certify to this Court, within sixty days, with proof of service thereof, that the

                                  17   agreed consideration for said settlement has not been delivered over, the foregoing order shall

                                  18   stand vacated and this cause shall forthwith be restored to the calendar to be set for trial.

                                  19   If no certification is filed, after passage of sixty days, the dismissal shall be with prejudice.

                                  20   Dated: January 4, 2018

                                  21                                                     ______________________________________
                                                                                         SALLIE KIM
                                  22                                                     United States Magistrate Judge
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